                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF IOWA


IN RE                                                         Chapter 7 Bankruptcy
                                                               Case No. 17-07314
REBECCA S. FRAZIER,
                                                       MOTION TO CONTINUE HEARING
               Debtor


        COMES NOW Chapter 7 Trustee Sheryl Schnittjer ("Trustee"), by and through her

counsel, respectfully states:

        1.     Contemporaneous       to this, the Trustee is filing a Motion to       Approve

Compromise that, if approved, would obviate the upcoming hearing on January 14,2020, at

10:30   A.M.   See   Dkt # 105 (setting hearing). The objection bar date for the motion would

not occur prior to the hearing. If the compromise is approved and there are no objections,

there the parties believe a heanng       will not be needed. Thus, the hearing       should be

continued during the objectionbar date period and only set if any objections are f:Jed.

        2.     The parties via counsel have conferred. The Debtor via counsel consents to

this continuance request.

        WHEREFORE, the Chapter 7 Trustee respectfully prays for the entry of an Order

continuing the hearing now set to occur on January 74, 2020, to instead occur after any

objections to the Trustee's Motion are frled, and for such other relief as may be just and

proper under the premises.

                                             /s/   E      L
                                             Eric J. Langston, AT0014001
                                             SrvrvroNs PrRnrNE MovER BEncvnN PLC
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                                             Cedar Rapids, IA 52401
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                                             elan gston@simmo ns perrine. com
                                             ArroRNEv FoR TRUSTEE
                                                  Certificate of Service

       The undersigned hereby certifies, under penalty of perjury, that a copy of the
instrument to which this certificate is attached was mailed via the United States mail with
postage fully paid on the 13th day of January 2020 to the parties displayed on the Service
List below



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Chapter 13 Trustee
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Chapter 7 Trustee
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TSD, EWL
SSTE FrazierlPldgs/BA 17-01314   Drafts/Mtn to Continue Hearing.01132020.l532.ejl




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